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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

SCANNING TECHNOLOGIES                 §
INNOVATIONS, LLC,                     §
                                      §
      Plaintiff,                      §                     Case No: 6:21-cv-00448-ADA
                                      §
vs.                                   §                     PATENT CASE
                                      §
THUNDER DATA SYSTEMS, INC.,           §
                                      §
      Defendant.                      §
_____________________________________ §

                         PLAINTIFF’S ANSWERS AND DEFENSES TO
                             DEFENDANT’S COUNTERCLAIMS

         Now comes Plaintiff, Scanning Technologies Innovations, LLC (“Plaintiff,”

 “Counterclaim Defendant,” or “STI”), by and through undersigned counsel, pursuant to

 Federal Rules of Civil Procedure 12, without admission of the legal sufficiency thereof and

 responding only to the factual allegations therein, and states as follows for its Answer and

 Defenses to Defendant and Counter Plaintiff Thunder Data Systems, Inc.’s (“Defendant,”

 “Counterclaim Plaintiff,” or “Thunder Data”) Counterclaims [Doc. 10] (hereafter the

 “Counterclaims”) as follows:

                                             PARTIES

       1.       STI has insufficient knowledge of the allegations contained in paragraph 1 and

therefore denies same.

       2.       Admitted.

                                         JURISDICTION

       3.       STI incorporates by reference each of its answers in paragraphs 1-2 above.

       4.       STI admits that jurisdiction is proper.



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       5.       Admitted.

       6.       STI admits that venue is proper. STI denies any remaining allegations in paragraph

6.

                                           COUNT I

       7.       STI incorporates by reference each of its answers in paragraphs 1-6 above.

       8.       STI admits that an actual controversy exists concerning infringement of the ‘101

Patent. STI denies any remaining allegations contained in paragraph 8.

       9.       Denied.

       10.      STI admits that Thunder Data seeks a declaratory judgment. STI denies any

remaining allegations contained in paragraph 10.

                                           COUNT II

       11.      STI incorporates by reference each of its answers in paragraphs 1-10 above.

       12.      STI admits that an actual controversy exists regarding validity of the ‘101 Patent.

STI denies any remaining allegations contained in paragraph 12.

       13.      Denied.

       14.      STI admits that Thunder Data seeks a declaratory judgment. STI denies any

remaining allegations contained in paragraph 14.

                                    PRAYER FOR RELIEF

         To the extent a response is required, STI denies that Thunder Data is entitled to any of

  the relief requested.




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Dated: July 20, 2021.                     Respectfully submitted,


                                          /s/Jay Johnson
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                                          ATTORNEYS FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 20, 2021, I electronically filed the above document(s) with the
Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to all
registered counsel.

                                          Respectfully submitted,

                                          /s/Jay Johnson
                                          JAY JOHNSON




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